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                                                                       February 25, 2022

       By ECF

       Honorable Kiyo A. Matsumoto
       United States District Court Judge
       U.S. District Court for the Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                        Re:        Wildman v. Deutsche Bank Aktiengesellschaft, et al.,
                                   No. 21 Civ. 4400 (E.D.N.Y.) (KAM) (RML)

       Dear Judge Matsumoto:

                       We represent defendants Danske Bank A/S and Danske Markets Inc. in
       the above-captioned matter, and we write on behalf of our clients and all other defendants
       that have appeared in this matter (Deutsche Bank Aktiengesellschaft, Deutsche Bank
       Trust Company Americas, Standard Chartered Bank, Standard Chartered PLC, Standard
       Chartered Bank (Pakistan) Limited, and Placid NK Corporation d/b/a Placid Express)
       (collectively, “Defendants”) in response to the Court’s February 24, 2022 Order directing
       defendants to advise the Court as to their consent to the changes in plaintiffs’ proposed
       corrected Amended Complaint.

                       Defendants do not believe that the changes proposed by plaintiffs are
       pertinent to this matter, and Defendants confirm their consent to all changes contained in
       plaintiffs’ proposed corrected Amended Compliant (ECF No. 36-1). Provided that the
       corrected Amended Complaint is filed by March 2, 2022, Defendants will respond to that
       complaint by March 18, 2022 in accordance with the schedule set by this Court in
       December.

                                                                Respectfully submitted,



                                                                Brian T. Frawley


       cc:    All Counsel of Record (by ECF)
